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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                   LEWIS T. BABCOCK, JUDGE

  Civil Case No. 10-cv-02499-LTB-CBS

  MARGARET GOMEZ, surviving mother of JENNIFER FRIESE, deceased,

                    Plaintiff,

  v.

  BURLINGTON NORTHERN AND SANTA FE RAILWAY COMPANY, and
  NATIONAL RAILROAD PASSENGER CORPORATION,

             Defendants.
  ________________________________________________________________________

                            ORDER OF DISMISSAL
  ________________________________________________________________________


         THIS MATTER having come before the Court on the Stipulation for Dismissal With

  Prejudice (Doc - 15 - filed July 13, 2011), and the Court being fully advised in the premises,

  it is therefore

         ORDERED that this matter shall be DISMISSED WITH PREJUDICE, each party to

  pay their own fees and costs.



                                                    BY THE COURT:


                                                      s/Lewis T. Babcock
                                                    Lewis T. Babcock, Judge

  DATED:      July 15, 2011
